Case 3:20-cv-02190-DMS-DEB Document 53 Filed 09/08/22 PageID.816 Page 1 of 3



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 11                          UNITED STATES DISTRICT COURT
 12                       SOUTHERN DISTRICT OF CALIFORNIA
 13
 14   Lana Rae Renna, et al,                            Case No.: 20-cv-2190-DMS-DEB
 15                       Plaintiffs,
                                                        PLAINTIFFS’ NOTICE OF
 16         v.                                          MOTION AND MOTION FOR
                                                        TEMPORARY RESTRAINING
 17   Robert Bonta, Attorney General of                 ORDER AND PRELIMINARY
      California, et al,                                INJUNCTION
 18
                                                        Complaint filed: November 10, 2020
 19                       Defendants.                   First Amended Complaint filed:
                                                        Jan. 4, 2021
 20                                                     Second Amended Complaint filed:
                                                        Aug. 22, 2022
 21
                                                        Date: October 7, 2022
 22                                                     Time: 1:30 p.m.
                                                        Department: 13A
 23                                                     Hon.: Dana M. Sabraw
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                 MPA ISO MOTION FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
Case 3:20-cv-02190-DMS-DEB Document 53 Filed 09/08/22 PageID.817 Page 2 of 3



  1         To the court, all parties, and their attorneys of record:
  2         Notice is hereby given that on October 7, 2022, at 1:30 p.m. Department 13A
  3   of the above-captioned Court, located at 333 West Broadway, San Diego, California
  4   92101, Plaintiffs will move for a temporary restraining order and a preliminary
  5   injunction under Rule 65(a) of the Federal Rules of Civil Procedure. Specifically,
  6   Plaintiffs will seek an order enjoining Defendants Attorney General Rob Bonta and
  7   his agents, servants, employees, and those working in active concert with him, as well
  8   as Director Luis Lopez of the California Department of Justice Bureau of Firearms
  9   and his agents, servants, employees, and those working in active concert with him,
 10   from enforcing or giving effect to Civil Procedure Code § 1021.11 and Penal Code §
 11   29185, as amended by AB 1621, during the pendency of this action.
 12         Plaintiffs bring this motion because those provisions of California law violate
 13   a bevy of constitutional rights. Starting with Civil Procedure Code § 1021.11, that new
 14   provision imposes onerous attorney’s fee liability on any plaintiffs and their attorneys
 15   who challenge any California gun law and—for whatever reason do not prevail on
 16   each and every claim they bring. It violates the First Amendment right to petition, is
 17   unconstitutionally viewpoint discriminatory, is preempted by federal law, and violates
 18   the Due Process and Equal Protection Clauses of the Fourteenth Amendment.
 19         Turning to Penal Code § 29185, as amended by AB 1621, that new law bans
 20   the acquisition, use, and mere possession of Computerized Numerical Code (CNC)
 21   milling machines commonly used in the process of self-manufacturing or assembling
 22   constitutionally protected arms for lawful purposes. It violates the history and tradition
 23   of the Second Amendment as interpreted by the Supreme Court in New York State
 24   Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022).
 25         Importantly, this ban under § 29185 and its effect of forcing Plaintiff Ruebe and
 26   all similarly situated members of Institutional Plaintiffs to surrender their CNC milling
 27   machines or face criminal prosecution becomes effective September 28, 2022, thus
 28   requiring resolution of this motion as expeditiously as possible.
       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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Case 3:20-cv-02190-DMS-DEB Document 53 Filed 09/08/22 PageID.818 Page 3 of 3



  1         The motion is based on this notice of motion and motion, the memorandum of
  2   points and authorities field concurrently with this motion, the Second Amended
  3   Complaint, any other pleadings or records already on file, and any other documents
  4   the Court deems appropriate at or before the time of the hearing. For the reasons
  5   provided in those documents, the motion should be granted and an injunction entered.
  6   Dated: September 8, 2022                      The DiGuiseppe Law Firm, P.C.
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  8                                                 By /s/ Raymond M. DiGuiseppe
                                                      Raymond M. DiGuiseppe
  9                                                   Attorneys for Plaintiffs
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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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